

People v Donadeo (2024 NY Slip Op 02331)





People v Donadeo


2024 NY Slip Op 02331


Decided on May 1, 2024


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on May 1, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

MARK C. DILLON, J.P.
CHERYL E. CHAMBERS
ROBERT J. MILLER
LILLIAN WAN, JJ.


2023-06632
 (Ind. No. 70264/21)

[*1]The People of the State of New York, respondent,
vAnnMarie Donadeo, appellant.


Laurette D. Mulry, Riverhead, NY (Amanda E. Schaefer of counsel), for appellant.
Raymond A. Tierney, District Attorney, Riverhead, NY (Michelle Kaszuba of counsel), for respondent.



DECISION &amp; ORDER
Appeal by the defendant, as limited by her motion, from a sentence of the Supreme Court, Suffolk County (Stephen L. Braslow, J.), imposed March 28, 2023, upon her plea of guilty, on the ground that the sentence was excessive.
ORDERED that the sentence is affirmed.
The sentence imposed was not excessive (see People v Suitte , 90 AD2d 80).
DILLON, J.P., CHAMBERS, MILLER and WAN, JJ., concur.
ENTER:
Darrell M. Joseph
Clerk of the Court








